Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 1 of 36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 2 of 36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 3 of 36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 4 of 36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 5 of 36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 6 of 36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 7 of 36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 8 of 36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 9 of 36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 10 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 11 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 12 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 13 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 14 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 15 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 16 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 17 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 18 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 19 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 20 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 21 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 22 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 23 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 24 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 25 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 26 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 27 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 28 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 29 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 30 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 31 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 32 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 33 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 34 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 35 of
                                      36
Case 1:16-cv-20680-RNS Document 285-1 Entered on FLSD Docket 03/28/2022 Page 36 of
                                      36
